Case 1:20-cv-04432-BMC-VMS Document 28-4 Filed 02/10/21 Page 1 of 11 PageID #: 295




                          EXHIBIT 2
Case 1:20-cv-04432-BMC-VMS Document 28-4 Filed 02/10/21 Page 2 of 11 PageID #: 296
Case 1:20-cv-04432-BMC-VMS Document 28-4 Filed 02/10/21 Page 3 of 11 PageID #: 297
Case 1:20-cv-04432-BMC-VMS Document 28-4 Filed 02/10/21 Page 4 of 11 PageID #: 298
Case 1:20-cv-04432-BMC-VMS Document 28-4 Filed 02/10/21 Page 5 of 11 PageID #: 299
Case 1:20-cv-04432-BMC-VMS Document 28-4 Filed 02/10/21 Page 6 of 11 PageID #: 300
Case 1:20-cv-04432-BMC-VMS Document 28-4 Filed 02/10/21 Page 7 of 11 PageID #: 301
Case 1:20-cv-04432-BMC-VMS Document 28-4 Filed 02/10/21 Page 8 of 11 PageID #: 302
Case 1:20-cv-04432-BMC-VMS Document 28-4 Filed 02/10/21 Page 9 of 11 PageID #: 303
Case 1:20-cv-04432-BMC-VMS Document 28-4 Filed 02/10/21 Page 10 of 11 PageID #: 304
Case 1:20-cv-04432-BMC-VMS Document 28-4 Filed 02/10/21 Page 11 of 11 PageID #: 305
